Case 1:01-cv-12257-PBS Document 6942-2 Filed 03/04/10 Page 1 of 3

EXHIBIT A
Case 1:01-cv-12257-PBS Document 6942-2 Filed 03/04/10 Page 2 of 3

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

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IN RE PHARMACEUTICAL INDUSTRY

AVERAGE WHOLESALE PRICE

LITIGATION : MDL NO. 1456

: CIVIL ACTION: 01-CV-12257-PBS

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THIS DOCUMENT RELATES TO: : Hon. Patti B. Saris

ALL ACTIONS :

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DECLARATION OF ANDREW E. KRAUSE IN SUPPORT OF
APPLICATION FOR ADMISSION PRO HAC VICE

Andrew E. Krause, an associate with the firm of Davis Polk & Wardwell LLP,
450 Lexington Avenue, New York, New York 10017, hereby declares:

L. I am a member in good standing of the Bar of the State of New York.

2. I have been admitted to practice in the U.S. District Courts for the
Southern and Eastern Districts of New York.

3. I am a member in good standing in the courts listed above.

4. I have not been suspended or disbarred in any jurisdiction and have never
been the subject of a professional disciplinary proceeding.

5. Attached hereto as Exhibit B is a true and correct copy of my certificate of
good standing from the State of New York.

6. I am familiar with the Local Rules of the United States District Court for
the District of Massachusetts.

] declare under penalty of perjury that the foregoing is true and correct.
Case 1:01-cv-12257-PBS Document 6942-2 Filed 03/04/10 Page 3 of 3

Dated: March 3, 2010 Lf
4“Lo.————

Andrew E. Krause

